Case 1:22-cv-00208-CFC Document 19-1 Filed 07/28/22 Page 1 of 5 PageID #: 562




                              Exhibit A
Case 1:22-cv-00208-CFC Document 19-1 Filed 07/28/22 Page 2 of 5 PageID #: 563




                          DECLARATION OF CAROLE SCHAUER


I, Carole Schauer, declare as follows:
   1. I have personal knowledge of the facts stated here and, if called on to do so, I could

       competently testify about the facts.

   2. I am filing the Class Action Complaint captioned Thelen v. HP Inc., in the U.S. District

       Court for the District of Delaware.

   3. I submit this declaration in support of the Class Action Complaint, which is based in part

       on violations of the Consumers Legal Remedies Act, Cal. Civ. Code. § 1770 et seq.

   4. The Class Action Complaint is being filed in the proper place for trial of this action.

   5. I understand that Defendant HP Inc. is incorporated in the State of Delaware. HP Inc.


            05/26/2022
Executed on ________________   Apple Valley California.
                             in_______________,


                                                     _____________________________
                                                           Carole Schauer
Case 1:22-cv-00208-CFC Document 19-1 Filed 07/28/22 Page 3 of 5 PageID #: 564




                           DECLARATION OF LORNE COSMAN


I, Lorne Cosman, declare as follows:
   1. I have personal knowledge of the facts stated here and, if called on to do so, I could

       competently testify about the facts.

   2. I am filing the Class Action Complaint captioned Thelen v. HP Inc., in the U.S. District

       Court for the District of Delaware.

   3. I submit this declaration in support of the Class Action Complaint, which is based in part

       on violations of the Consumers Legal Remedies Act, Cal. Civ. Code. § 1770 et seq.

   4. The Class Action Complaint is being filed in the proper place for trial of this action.

   5. I understand that Defendant HP Inc. is incorporated in the State of Delaware. HP Inc.


            05/26/2022          Sherman Oaks
Executed on ________________ in_______________, California.


                                                     _____________________________
                                                           Lorne Cosman
Case 1:22-cv-00208-CFC Document 19-1 Filed 07/28/22 Page 4 of 5 PageID #: 565




                          DECLARATION OF TERENCE GRANER


I, Terence Graner, declare as follows:
   1. I have personal knowledge of the facts stated here and, if called on to do so, I could

       competently testify about the facts.

   2. I am filing the Class Action Complaint captioned Thelen v. HP Inc., in the U.S. District

       Court for the District of Delaware.

   3. I submit this declaration in support of the Class Action Complaint, which is based in part

       on violations of the Consumers Legal Remedies Act, Cal. Civ. Code. § 1770 et seq.

   4. The Class Action Complaint is being filed in the proper place for trial of this action.

   5. I understand that Defendant HP Inc. is incorporated in the State of Delaware. HP Inc.


            05/23/2022
Executed on ________________    Spring Valley California.
                             in_______________,


                                                     _____________________________
                                                           Terence Graner
Case 1:22-cv-00208-CFC Document 19-1 Filed 07/28/22 Page 5 of 5 PageID #: 566




                            DECLARATION OF TRUDY LETSON


I, Trudy Letson, declare as follows:
   1. I have personal knowledge of the facts stated here and, if called on to do so, I could

       competently testify about the facts.

   2. I am filing the Class Action Complaint captioned Thelen v. HP Inc., in the U.S. District

       Court for the District of Delaware.

   3. I submit this declaration in support of the Class Action Complaint, which is based in part

       on violations of the Consumers Legal Remedies Act, Cal. Civ. Code. § 1770 et seq.

   4. The Class Action Complaint is being filed in the proper place for trial of this action.

   5. I understand that Defendant HP Inc. is incorporated in the State of Delaware. HP Inc.


            05/23/2022
Executed on ________________    jackson
                             in_______________, California.


                                                     _____________________________
                                                           Trudy Letson
